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                                                                                       :_LS. C1·         '    \:

                        IN THE UNITED STATES DISTRICT COURT                          01~:i·l-;-~1~~: ~
                            FOR THE DISTRICT OF NEBRASKA
                                                                                          ,-,
                                                                                      . tl
UNITED STATES OF AMERICA,

                      Plaintiff,                                          8: 17CR   33y' ,~
       vs.                                                        INDICTMENT
                                                               21 U.S.C. § 843(a)(3)
CHRISTOPHER G. KOBER,                                          21 U.S.C. § 841(a)(l)

                      Defendant.

       The Grand Jury charges that

                                            COUNT I

       From on or about January, 2016, and continuing to March 17, 2017, in the District of

Nebraska, the Defendant, CHRISTOPHER G. KOBER, knowingly and intentionally obtained and

acquired:

       Acetaminophen Hydrocodone Bitartrate;
       Oxycodone Hydrocholoride;
       Acetaminophen Oxycodone;
       Morphine Sulfate; and
       Fentanyl

each of the above a Schedule II controlled substance, by misrepresentation, fraud, deception, and

subterfuge in that CHRISTOPHER G. KOBER in his capacity as an investigator with the

Nebraska State Patrol on assignment to the Drug Enforcement Administration did take

possession of various prescription drugs and controlled substances through drug take back

operations, overdose investigations; and other means, accumulating more than 1,800 dosage

units, and kept the prescription drugs and controlled substances concealed in his home rather

than enter the controlled substances into evidence or otherwise properly dispose of them.

       In violation of Title 21, United States Code, Section 843(a)(3).


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                                           COUNT II

       On or abou{March 17, 2017, in the District of Nebraska, the Defendant, CHRISTOPHER

G. KOBER, knowingly and intentionally possessed.with intent to distribute:

       Acetaminophen Hydrocodone Bitartrate;
       Oxycodone Hydrochloride;
       Acetaminophen Oxycodone;
       Morphine Sulfate; and
       F~mtanyl

each a mixture and substance containing detectable amounts of a Schedule II controlled

substance.

       In violation of Title 21, United States Code, Section 841(a)(l).


                                                    A TRUE BILL.




                                                    FOREPERSON



       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.




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                                                MICHAEL P. NORRIS, #17765
                                                Assistant U.S. Attorney




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